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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, ex rel.
MARK J. O’CONNOR and SARA F.
LEIBMAN,
                                       Case No. 20-CV-2070 (TSC)
                Plaintiffs/Relators,
                                       ORAL HEARING REQUESTED
    v.

UNITED STATES CELLULAR
CORPORATION, et al.,

                Defendants.


 DEFENDANTS UNITED STATES CELLULAR CORPORATION, USCC WIRELESS
     INVESTMENT, INC., AND TELEPHONE AND DATA SYSTEMS, INC.’S
 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
        DISMISS PLAINTIFFS/RELATORS’ AMENDED COMPLAINT
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                                       INTRODUCTION

       After Relators suggested that they could re-plead their False Claims Act (“FCA”) claims

by alleging new non-public information “in great detail,” Opinion Granting Motion to Dismiss,

ECF 170 at 13 (“MTD Opinion”), the Amended Complaint remains devoid of any facts that

“materially add to the allegations and transactions already in the public domain,” id. at 11. At its

core, the Amended Complaint is a mere repackaging of the exact claims the Court has already

dismissed once under the public disclosure bar, and in which the Department of Justice (“DOJ”)

has declined to intervene—claims based on allegations and transactions that have been public for

years and of which the Government has long been fully aware. This is altogether unsurprising,

since Relators are not company insiders purporting to “blow the whistle” on undisclosed conduct;

rather, they are private telecom lawyers whose claims are based on agreements publicly filed with

the Federal Communications Commission (“FCC”) and who do nothing more than reiterate and

attempt to extend allegations of a supposedly fraudulent scheme that was alleged in an earlier,

failed qui tam suit dismissed more than a decade ago. Relators’ Amended Complaint remains

parasitic of the public record on multiple fronts, and it must be dismissed under the FCA’s public-

disclosure bar. See 31 U.S.C. § 3730(e)(4).

       The Amended Complaint also fails because it does not adequately allege the essential FCA

elements of falsity, scienter, and materiality. It does not plead that Defendants made any false

statement, let alone one that misrepresented an objective fact. Indeed, the challenged statements—

certifications that certain businesses were qualified to receive small-business subsidies to

participate in FCC spectrum auctions—were factually true, legally reasonable, and based on a

series of agreements filed in full with the FCC. Nor do Relators present well-pled allegations that

those certifications were knowingly or even recklessly false. And it is clear from the FCC’s own

conduct that if any of the statements Relators challenge were false (and they were not), they were
                                                 1
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not material to the Agency’s decision to grant the benefits at issue. The FCC had before it all

relevant facts underlying the statements and it still granted the challenged licenses, and indeed has

granted other licenses to the Defendants under similar circumstances.

       Each of these defects in the Amended Complaint provides an independent basis for

dismissal. This case is ultimately about policy disagreements that Relators purport to have with

the FCC’s licensing and enforcement decisions; it is categorically not about any fraud on the

Government. A policy disagreement cannot establish an FCA violation. U.S. Cellular 1 therefore

moves to dismiss Relators’ claims with prejudice.

                                        BACKGROUND

       A.      Statutory and Regulatory Background

       Under the Communications Act, the FCC grants geographic licenses to use particular

cellular radio frequencies—known as spectrum—through competitive auctions. See 47 U.S.C.

§ 301. Because demand for cellular services is high and the supply of spectrum is limited, auctions

for commercial licenses garner hundreds of millions of dollars. In order to encourage smaller

businesses to participate in the wireless spectrum market, Congress and the FCC created the

Designated Entity (“DE”) Program, which provides subsidies to eligible small businesses that

participate in spectrum auctions. See id. § 309(j)(4)(D).

       As relevant here, the DE Program provides eligible businesses with “bidding credits” (i.e.,

payment discounts) against the purchase price of licenses they win at auction. 47 C.F.R.




1
  “U.S. Cellular” in this memorandum refers to defendants United States Cellular Corporation,
USCC Wireless Investment, Inc., and Telephone and Data Systems, Inc. Telephone and Data
Systems, Inc. owns approximately 82 percent of the equity of United States Cellular Corporation,
which owns 100 percent of the equity of USCC Wireless Investment, Inc. USCC Wireless
Investment, Inc. is a limited partner and 90% equity owner of defendant Advantage Spectrum.
                                                 2
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§ 1.2110(f)(1) (2014). 2 To be eligible for bidding credits, a business’s gross revenues must not

exceed thresholds set by the FCC. Id. § 1.2110(f)(2) (2014).

        In calculating eligibility, DE applicants must aggregate their own revenues with other

“attributable” revenues and holdings. As relevant here, a DE must aggregate the revenues of its

“affiliates,” its “controlling interests,” and the “affiliates of [its] controlling interests” for purposes

of its general eligibility, id. § 1.2110(b)(1)(i)-(ii) (2014), as well as—only for determining

eligibility on a license-by-license basis—the revenues of any entity that holds both (a) a 10% or

greater equity interest in the DE and (b) an “agreement to use[] more than 25 percent of the

spectrum capacity of a[ny] license awarded with bidding credits,” 47 C.F.R. § 1.2110(c)(2)(ii)(J);

see also id. § 1.2110(b)(3)(ii) (distinguishing between loss of “eligibility for size-based benefits

for one or more licenses” and of “general eligibility for size-based benefits”). Ownership interests

that fall outside the definition of “attributable” are not required to be aggregated.

        Importantly, these regulations are not intended to prevent large wireless companies from

investing in DEs. Just the opposite—the FCC recognized that “the primary impediment to

participation by designated entities is lack of access to capital,” and it explained that the purpose

of bid credits is not to bring auction pricing down to a level DEs could afford on their own, but to

“encourage large companies to invest in [those] entities.” Implementation of Section 309(j) of the

Communications Act—Competitive Bidding, 9 FCC Rcd. 5532 ¶¶ 10, 15 (1994).




2
  Although the relevant FCC rules were amended in late 2015, those changes applied only
prospectively. See Updating Part 1 Competitive Bidding Rules, 30 FCC Rcd. 7493, 7516 (2015).
Advantage Spectrum was subject to the pre-2015 rules with respect to its original applications for
auction participation and licensure—both of which were filed before the amendments’ July 21,
2015 effective date. Id. Subsequent “spectrum leases or . . . [other] events affecting . . . [Advantage
Spectrum’s] ongoing eligibility,” however, were subject to the amended rules. Id. For the
avoidance of any confusion, this memorandum specifies each time it cites to the 2014 edition of
the Code of Federal Regulations, and uses undated citations to refer to the current edition.
                                                    3
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       Using a two-step application process consisting of a pre-auction “short-form” application

for all participants (FCC Form 175) and a post-auction “long-form” application for successful

bidders (FCC Form 601), the FCC exhaustively reviews a DE’s eligibility for small business

benefits. The FCC has also established a number of rules with which DEs must comply after they

are granted a license. Those rules disincentivize DEs from quickly transferring their subsidized

spectrum licenses to businesses that would have been ineligible for subsidies in the first instance.

       For five years after its initial licensure, if a DE enters into an attributable relationship with

an entity that is not eligible for DE treatment, the FCC’s “unjust enrichment rule” requires the DE

to pay back some of the bid credits it previously received. See generally 47 C.F.R. § 1.2111(b).

The rules also require the DE to submit an annual report which, inter alia, certifies its continuing

eligibility for the bid credits. Crucially, all of the submissions required to show a DE’s initial and

continuing eligibility for benefits—including its Form 175, its Form 601, and its annual reports—

are publicly filed with the FCC. See generally FCC, Universal Licensing System,

https://bit.ly/3x3A77T (searchable public databases of licenses and license applications).

       B.      FCC Auction 97 and Advantage Spectrum’s Partnership with U.S. Cellular

       U.S. Cellular partnered with the other Defendants to support Advantage Spectrum’s

participation as a DE in FCC Auction 97. Amended Complaint ¶¶ 12-21 (ECF 174) (“Am.

Compl.”). Under that partnership, USCC Wireless Investment, Inc. was the limited partner in

Advantage Spectrum, L.P. and owned 90% of its equity. Frequency Advantage, L.P. was the

controlling general partner and owned 10% of Advantage Spectrum’s equity. Id. ¶¶ 15-16.




                                                  4
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Frequency Advantage, in turn, was owned by its general partner, William Vail, and its limited

partner, Allison DiNardo. Id. ¶¶ 17-18. 3

        Advantage Spectrum submitted its FCC Form 175 short-form application for Auction 97

on November 11, 2014, and it was the high bidder on 124 licenses. Id. ¶ 3, ¶ 77 & Ex. 3. Advantage

Spectrum received bid credits as a “very small business” but did not receive the actual licenses at

that time. See id. ¶ 95.

        Advantage Spectrum filed its Form 601 long-form application with the FCC on February

12, 2015. Id. ¶ 96. It amended its application twice, submitting its final Form 601 on March 31,

2016, nearly one year after Relators filed their original Complaint in this case. 4 See id. ¶¶ 96,

106-107. After reviewing that application and supporting documents, on July 5, 2016 the FCC

granted Advantage Spectrum the licenses it had won in Auction 97. 5

        Importantly, the spectrum licenses that Advantage Spectrum won covered so-called

“paired” spectrum. Wireless voice and data services require communication both from the user’s

device to the tower (“uplink”) and from the tower back to the user’s device (“downlink”), but

simultaneous two-way transmission on a single band of spectrum is generally not possible. To

address that need, the FCC frequently auctions spectrum intended for wireless service in paired

blocks, with one block dedicated to uplink and one to downlink. As relevant here, during




3
  Vail and DiNardo held their respective stakes in Frequency Advantage through wholly-owned
corporations. Am. Compl. ¶¶ 17-18. For simplicity, this memorandum refers only to Vail and
DiNardo.
4
   Relators refer to this final version of Advantage Spectrum’s application in the Amended
Complaint, see Am. Compl. ¶¶ 106-107, but did not attach it as an exhibit. It is publicly available
and was previously filed as Volpe Decl. Ex. I. Citations to “Volpe Decl. Ex. __” refer to the exhibits
to the Declaration of Frank R. Volpe in Support of U.S. Cellular’s Motion to Dismiss, previously
filed in the present case at ECF 155-2.
5
  See FCC File No. 0006668843, https://bit.ly/3NL8pnl (last visited June 10, 2022) (noting grant
of application on July 5, 2016).
                                                  5
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Auction 97 the FCC paired blocks of spectrum in the 2155-2180 MHz band (reserved for

downlink) with blocks in the 1755-1780 MHz band (reserved for uplink). 6 Amendment of the

Commission’s Rules With Regard to Commercial Operations in the 1695-1710 MHz, 1755-1780

MHz, and 2155-2180 MHz Bands (“AWS-3 Order”), 29 FCC Rcd. 4610, 4612 (2014).

        Once Advantage Spectrum received its licenses, FCC regulations required that it “provide

reliable signal coverage and offer service within six (6) years . . . to at least forty (40) percent of

the population in each of its licensed areas.” 47 C.F.R. § 27.14(s)(1). Under regulations that

allowed a DE to satisfy its construction obligations by first leasing spectrum to a larger partner

and then “attribut[ing] [that partner’s coverage] to itself,” id. § 1.9020(d)(4), (5)(i), Advantage

Spectrum disclosed to the FCC in July 2020 that with respect to all or part of its spectrum under

121 different licenses, it would enter into such spectrum manager lease agreements with a U.S.

Cellular affiliate. Am. Compl. ¶¶ 124-126 & Ex. 15. As Advantage Spectrum acknowledged, that

arrangement triggered unjust enrichment payments for the 43 licenses that were leased in their

entirety. Id. Ex. 15 at 4, 6 (citing the 25% attribution rule discussed supra, at 3). 7

        C.      The Prior Qui Tam Action

        On May 2, 2007, a Washington, D.C. law firm named Lampert & O’Connor filed a qui tam

FCA complaint against U.S. Cellular and DiNardo (among other defendants), which they amended

about one year later. See Amended Complaint, United States ex rel. Lampert O’Connor &

Johnston P.C. v. Carroll Wireless, L.P., ECF 11, No. 1:07-cv-800 (JDB) (D.D.C. Apr. 24, 2008)

(this action is hereinafter referred to as the “Prior Qui Tam Action,” and the Amended Complaint



6
  MHz is short for “megahertz,” and indicates the frequency of a radio wave. Each spectrum license
that Advantage Spectrum won in Auction 97 covered two 5 MHz-wide blocks of spectrum—one
dedicated to uplink and one to downlink.
7
  Relators do not allege that Advantage Spectrum failed to make the unjust enrichment payments
related to those 43 licenses. See Am. Compl. ¶ 125.
                                                   6
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therein is hereinafter referred to as the “Prior Qui Tam Amended Complaint”) (Volpe Decl. Ex.

A). 8 Mark J. O’Connor, one of the two relators in the present case, was an attorney at Lampert &

O’Connor at that time, and he represented the relator firm in that case. However, neither O’Connor

nor Sara F. Leibman (the other relator in the present case) was a relator in, or otherwise a party to,

the Prior Qui Tam Action.

        The Prior Qui Tam Amended Complaint made the same core allegations, against many of

the same defendants, as Relators do in the present action. See Prior Qui Tam Amended Complaint

¶¶ 15-28. Specifically, it alleged the same central theory of fraud—that participants in FCC

auctions falsely certified themselves as eligible for DE treatment when they were in fact controlled

by or otherwise affiliated with U.S. Cellular. See, e.g., id. ¶¶ 2-10, 49, 54, 56-57, 59, 60, 62, 64-68.

The Prior Qui Tam Amended Complaint itself alleged that the actions of the specific defendants

in the challenged auctions were not unique, but rather part of a broader “modus operandi” by U.S.

Cellular. See id. ¶¶ 9, 70. That very same “modus operandi” is what Relators allege and challenge

in the present case.

        Both DOJ and the FCC Office of Inspector General (“OIG”) investigated the allegations in

the Prior Qui Tam Amended Complaint, and the FCC asked one of the DEs in that case, King

Street Wireless, L.P., to address the prior relator’s allegations while King Street’s license

applications were still pending before the FCC. King Street’s public response, published on the

FCC docket, has previously been filed in this matter. See Response to Inquiry from the Wireless

Telecomms. Bureau, Applications of King Street Wireless, L.P. for Licenses in the 700 MHz Lower




8
 The Court may take judicial notice of this federal court record. Covad Commc’ns Co. v. Bell Atl.
Corp., 407 F.3d 1220, 1222 (D.C. Cir. 2005).
                                                   7
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Band, File No. 0003379814 (May 8, 2009) (Volpe Decl. Ex. B). 9 DOJ and the FCC OIG closed

their investigations without taking any action against U.S. Cellular or any other defendant, and on

October 13, 2009, DOJ formally declined to intervene in the Prior Qui Tam Action. After the FCC

granted King Street’s spectrum licenses, relator Lampert & O’Connor voluntarily dismissed the

Prior Qui Tam Action in January 2010.

       D.      The Present Qui Tam Action

       Relators filed their original Complaint in this case on May 11, 2015. They alleged that

Advantage Spectrum’s public FCC filings showed that U.S. Cellular controlled it, and that Relators

had conducted certain minimal surveillance to confirm those already-public facts. See generally

Complaint (ECF 2) (“Compl”). In a memorandum opinion filed March 31, 2022, the Court held

that the original Complaint failed to clear the FCA’s public disclosure bar, and the Court dismissed

Relators’ claims with leave to amend. See generally MTD Opinion. The Court’s decision rested

on three main grounds:

       First, the Court observed that all six of the agreements supporting the original Complaint’s

allegations of improper control were publicly available. Id. at 9-10. By definition, claims that U.S.

Cellular controlled Advantage Spectrum under the terms of those public documents were subject

to the public-disclosure bar because the filings themselves “would have given the Government

sufficient notice to ‘adequately investigate the case and to make a decision whether to prosecute.’”

Id. at 10 (quoting United States ex rel. Joseph v. Cannon, 642 F.2d 1373, 1377 (D.C. Cir. 1981)).

       Second, the Court held that Relators’ “surveillance and private investigations of

Defendants’ offices and employees” did not “provide enough [non-public] information to make

the entire body of evidence in [their] claim[s] not ‘substantially the same’ as what ha[d] already


9
 The Court may take judicial notice of this document, which was publicly filed with the FCC. See,
e.g., SEC v. RPM Int’l, Inc., 282 F. Supp. 3d 1, 10 n.4 (D.D.C. 2017).
                                                 8
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been publicly disclosed.” Id. (quoting 31 U.S.C. § 3730(e)(4)(A)). To the extent those alleged

activities revealed any non-public material at all—that U.S. Cellular and King Street employees

were involved in the Auction 97 bidding, that the bidding took place at King Street’s offices, and

that Advantage Spectrum’s offices “were unused”—they “merely add[ed] information to that

contained in the public FCC filings.” Id. at 11.

        Third, the Court concluded that Relators were not the “original source of the information”

upon which the original Complaint was based, because their surveillance had uncovered no new

information beyond allegations “that Advantage [Spectrum]’s offices were vacant and that [one of

Advantage Spectrum’s designated bidders] was a King Street employee.” Id. at 12. That smattering

of non-public information “d[id] not significantly expand the court’s understanding of the essential

factual background of this case,” and was not “information that might have otherwise influenced

the Government.” Id.

        In opposing Defendants’ motions to dismiss, Relators told the Court that they had more to

offer—“information showing ‘in great detail’ the degree to which U.S. Cellular actually controlled

Advantage [Spectrum].” Id. at 13. Based on those assurances, the Court granted Relators leave to

file an amended complaint. Id. at 14. Because the Court held that Advantage Spectrum’s FCC

filings alone required application of the public disclosure bar, it did not reach U.S. Cellular’s

additional argument that the Prior Amended Qui Tam Complaint was a public disclosure in its own

right. Id. at 11 n.6. For the same reason, the Court did not address U.S. Cellular’s additional

arguments that Relators had in any case failed plausibly to allege the FCA elements of an

objectively false statement, scienter, and materiality. Id. at 7.

        Relators filed their Amended Complaint (ECF 174) on April 29, 2022. Their basic claims

remain unchanged from the original Complaint as well as the Prior Qui Tam Action—that



                                                   9
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Defendants conspired to violate the False Claims Act by abusing the DE program, Am. Compl.

¶¶ 139-146 (Count One); that they falsely claimed auction discounts by misrepresenting

Advantage Spectrum’s eligibility for bid credits, id. ¶¶ 147-150 (Count Two); that they submitted

false records and statements in order to deceive the FCC into granting bid credits, id. ¶¶ 151-154

(Count Three); and that they made additional false statements in order to avoid returning those

credits to the Government, id. ¶¶ 155-157 (Count Four).

       The main difference between the original Complaint and Relators’ second effort is that

where the original Complaint alleged that the agreements that Advantage Spectrum disclosed

during Auction 97 were the basis of its alleged control by U.S. Cellular, see, e.g., Compl. ¶¶ 58-

59, 61, 74-78, 84, 87, 91-93, Relators now allege that those agreements concealed the control that

U.S. Cellular allegedly exercised pursuant to an undefined web of purportedly “secret

agreement[s] and understanding[s],” see Am. Compl. ¶¶ 70-71, 83, 86, 91-94, 102-104, 107-110,

133-135, 143(c), 143(g).

       Unsurprisingly, however, the Amended Complaint still shares its predecessors’

fundamental shortcoming. Neither Relator was ever an insider to the alleged scheme, or played

any part in the facts giving rise to any of the claims alleged. That is why the Amended Complaint

offers no details regarding any of the alleged secret agreements that it posits, and no explanation

of how Relators came to discover them. Relators are not whistleblowers. They are private citizens

who first claimed that public records showed misconduct in Auction 97, but now have made the

purely tactical decision to reframe their lawsuit in terms of sheer speculation about what those

same filings allegedly concealed.

       Relators’ real disagreement is with the policies and judgment of the FCC Wireless

Telecommunications Bureau, which granted the challenged credits and licenses, and with the FCC



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OIG, which investigated near-identical allegations against many of the Defendants in the two cases

and took no action. Relators’ obsession has not persuaded the Government. Indeed, more than a

year after Relators filed the present case launching their attack on Defendants’ conduct in Auction

97, the FCC granted Advantage Spectrum the licenses—and credits—it won in that proceeding.

                                    STANDARD OF REVIEW

        Under Federal Rule of Civil Procedure 12, a complaint must be dismissed unless it contains

factual allegations sufficient “to raise a right to relief above the speculative level on the assumption

that all the allegations in the complaint are true . . . .” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007) (citation omitted); see also, e.g., Zukerman v. U.S. Postal Serv., 961 F.3d 431, 441

(D.C. Cir. 2020) (“[T]o survive . . . [a] motion to dismiss for failure to state a claim . . . , [the]

complaint [must] ‘contain[] sufficient factual matter, accepted as true, to “state a claim to relief

that is plausible on its face.”’”). Although the Court “assume[s] the truth” of the complaint’s

allegations and draws all reasonable inferences in favor of the plaintiff, Zukerman, 961 F.3d at

441, bare legal conclusions in a complaint are not entitled to the assumption of truth; rather, “they

must be supported by factual allegations” to state a claim for relief. Ashcroft v. Iqbal, 556 U.S.

662, 679 (2009).

        For claims sounding in fraud, like those under the FCA, Rule 9(b)’s particularity standard

applies. United States ex rel. Williams v. Martin-Baker Aircraft Co., 389 F.3d 1251, 1255-56 (D.C.

Cir. 2004). FCA claims comply with Rule 9(b) when they plead “the who, what, when, where, and

how with respect to the circumstances of the fraud.” United States ex rel. PCA Integrity Assocs.,

LLP v. NCO Fin. Sys., Inc., 2020 WL 686009, at *21 (D.D.C. Feb. 11, 2020).

                                            ARGUMENT

        Relators’ Amended Complaint should be dismissed for two reasons. First, the allegations

and transactions at the heart of Relators’ Amended Complaint were publicly disclosed before the

                                                  11
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complaint was filed, and Relators are not an original source under the FCA. See 31 U.S.C. §

3730(e)(4). Relators’ amendments have not cured the shortcomings identified in this Court’s initial

ruling, and the Amended Complaint is barred for essentially the same reasons as the original.

Second, the Amended Complaint fails to plead, either plausibly or with particularity, key elements

of Relators’ FCA claims, including objective falsity, scienter, and materiality. Even if the

Amended Complaint cleared the public disclosure bar (and it does not), each of those failures to

plead an essential element of an FCA violation would still be an independent ground for dismissal.

I.     The Public Disclosure Bar Still Requires Dismissal 10

       The FCA’s public disclosure bar prohibits relators from bringing “parasitic” lawsuits

based—even in part—on information already in the public domain. United States ex rel. J. Cooper

& Assocs., Inc. v. Bernard Hodes Grp., Inc., 422 F. Supp. 2d 225, 235 n.10 (D.D.C. 2006) (“The

FCA’s [public disclosure] bar precludes suits by ‘individuals who base any part of their allegations

on publicly disclosed information.’”). “The court shall dismiss” qui tam claims “if substantially

the same allegations or transactions as alleged in the action or claim were publicly disclosed”

unless the relator qualifies as an “original source” of the information. 31 U.S.C. § 3730(e)(4)(A),

(B) (emphasis added). 11

       “Substantially the same” does not mean “identical”—the bar is triggered where “the

relator . . . describe[s] allegations or transactions substantially similar to those in the public


10
   The public disclosure bar applies to any qui tam “action or claim” brought under the FCA’s
enforcement provisions, and therefore to each of Relators’ causes of action. See 31 U.S.C.
§ 3730(e)(4)(A).
11
   The public disclosure bar was amended in 2010, and the amended version applies to claims
“based on post-March 23, 2010 conduct.” United States ex rel. Shea v. Verizon Commc’ns, Inc.,
160 F. Supp. 3d 16, 24 (D.D.C. 2015), aff’d sub nom. United States ex rel. Shea v. Cellco P’ship,
863 F.3d 923 (D.C. Cir. 2017). Where the former version of the statute imposed a jurisdictional
bar, the 2010 amendments “merely deprive[] the plaintiff of his claim.” Id. at 24. The relevant
analysis, however, is unchanged. See, e.g. United States ex rel. Folliard v. Comstor Corp., 308 F.
Supp. 3d 56, 71-72 (D.D.C. 2018).
                                                12
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domain.” United States ex rel. Findley v. FPC-Boron Emps.’ Club, 105 F.3d 675, 682 (D.C. Cir.

1997). The question is whether “the government already ha[d] enough information ‘to investigate

the case and to make a decision whether to prosecute’ or whe[ther] the information ‘could at least

have alerted law-enforcement authorities to the likelihood of wrongdoing.’” United States ex rel.

Davis v. District of Columbia, 679 F.3d 832, 836 (D.C. Cir. 2012). If that standard is met, the

public disclosure bar applies even if a relator does provide some new information. “Merely

providing ‘more specific details’ about what happened does not negate substantial similarity.”

United States ex rel. Oliver v. Philip Morris USA Inc., 826 F.3d 466, 472 (D.C. Cir. 2016). Nor

does “a relator’s ability to reveal [additional] specific instances of fraud where the general practice

has already been publicly disclosed.” Id. Finally, the public disclosures need not allege any False

Claims Act violations. It is enough to reveal “the critical elements of the fraudulent transaction

themselves.” United States ex rel. Springfield Terminal Ry. v. Quinn, 14 F.3d 645, 654 (D.C. Cir.

1994). The D.C. Circuit has framed the inquiry in terms of a formula: “[I]f X+Y=Z, Z represents

the allegation of fraud and X and Y represent its essential elements. In order to disclose the

fraudulent transaction publicly, the combination of X and Y must be revealed, from which readers

or listeners may infer Z, i.e. the conclusion that fraud has been committed.” Id.

       “Public disclosures” for purposes of the Act include disclosures made “in a Federal

criminal, civil, or administrative hearing in which the Government or its agent is a party,” in a

“Federal report, hearing, audit, or investigation,” and in the “news media.” 31 U.S.C.

§ 3730(e)(4)(A)(ii)–(iii). Because the Government or a relator acting as its agent is a party to every

qui tam action, a filed qui tam complaint is a public disclosure. Id. § 3730(e)(4)(A)(i); see United

States ex rel. Reed v. Keypoint Gov’t Sols., 923 F.3d 729, 752-53 (10th Cir. 2019).




                                                  13
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       To be an original source under the FCA the relator must, inter alia, have “knowledge that

is independent of and materially adds to the publicly disclosed allegations or transactions,” and

must have “voluntarily provided the information to the Government before filing” a qui tam action.

31 U.S.C. § 3730(e)(4)(B)(2). “[A] relator is not an original source ‘simply because he conducted

some collateral research and had background knowledge that allowed him to understand the

significance of publicly disclosed information.’” United States ex rel. Doe v. Staples, Inc., 932 F.

Supp. 2d 34, 41 (D.D.C. 2013), aff’d, 773 F.3d 83 (D.C. Cir. 2014). 12

       A.      The Amended Complaint is Still Based on Public Information

               1.      Public Disclosures in FCC Filings

       With certain changes in emphasis, the Amended Complaint is based on essentially the same

public knowledge as was the original. As in that prior pleading, all of the core facts that Relators

now allege support an inference of fraud were publicly disclosed, in FCC filings, well before they

were first alleged in this Court. 13 Notably, while these publicly-disclosed facts remain largely

unchanged, Relators have stripped from the Amended Complaint most of the citations to the public

record, leaving the implicit impression that these allegations trace back to Relators themselves. As

summarized in the chart below, however, that is not the case—the allegations are still sourced in

public information:




12
   The original source exception may also apply where a relator establishes that, “prior to a public
disclosure . . . [he or she] has voluntarily disclosed to the Government the information on which
allegations or transactions in a claim are based.” 31 U.S.C. § 3730(e)(4)(B). Relators in the present
case, however, do not allege that they made such a disclosure. See Am. Compl. ¶ 26 (alleging only
that they made a disclosure to the Government “before filing this qui tam action”).
13
   Regulatory filings are public disclosures under the FCA, and an FCC auction is a “Federal . . .
administrative hearing in which the Government or its agent is a party” under
Section 3730(e)(4)(A)(i). See Quinn, 14 F.3d at 652. The records of such a proceeding are publicly-
filed and subject to judicial notice. See, e.g., RPM Int’l, 282 F. Supp. 3d at 10 n.4.
                                                 14
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                                    Amended    Original
             Allegation                                             Public FCC Filing(s)
                                    Complaint Complaint
1. DiNardo had a history of                                    •   Short Form Application
   involvement in DEs (including                                   (FCC Form 175) of Carroll
   King Street) in which U.S.                                      Wireless, LP, FCC Auction
   Cellular was an investor.                                       No. 58 (Dec. 23, 2004). 14
                                                               •   Short Form Application
                                                                   (FCC Form 175) of Barat
                                                   ¶¶ 46-47,
                                       ¶ 68                        Wireless, LP, FCC Auction
                                                   51-54
                                                                   No. 66 (May 10, 2006). 15
                                                               •   Short Form Application
                                                                   (FCC Form 175) of King
                                                                   Street Wireless, LP, FCC
                                                                   Auction No. 73 (Jan. 2,
                                                                   2008). 16
2. U.S. Cellular had acquired                                  •   Application for Assignments
   spectrum licenses won by                                        of Authorization and
   Carroll Wireless and Barat                                      Transfers of Control (FCC
   Wireless— two earlier                                           Form 603) from Carroll
   DiNardo-affiliated DEs in                                       Wireless, LP to U.S.
   which it was an investor—                                       Cellular Corporation (Sept.
   shortly after the end of their                                  7, 2012). 17
                                       ¶ 68         ¶¶ 46-47
   unjust enrichment periods.                                  •   Application for Assignments
                                                                   of Authorization and
                                                                   Transfers of Control (FCC
                                                                   Form 603) from Barat
                                                                   Wireless, LP to U.S.
                                                                   Cellular Corporation (May
                                                                   24, 2012). 18


14
   Available at https://bit.ly/3x9kHzd (select “Auction 58,” search for file number 0581536056,
click on hyperlink under “File Number,” click on “Reference Copy,” click on “Attachment –
Revised Exhibit A”).
15
   Available at https://bit.ly/3x9kHzd (select “Auction 66,” search for file number 0002605271,
click on hyperlink under “File Number,” click on “Reference Copy,” click on “Attachment –
Indirect Ownership).
16
   Available at https://bit.ly/3x9kHzd (select “Auction 73,” search for file number 0003247597,
click on hyperlink under “File Number,” click on “Reference Copy,” click on “Attachment – Exh
2 – Indirect Ownership (Revised)”).
17
   See FCC File No. 0005379116, https://bit.ly/3O5xCZC (click on “Reference Copy”); see also
FCC File No. 0005538664, https://bit.ly/3x934zy (click on “Reference Copy”) (noting
consummation of transfer on December 5, 2012).
18
   See FCC File No. 0005231405, https://bit.ly/3aywvTP (click on “Reference Copy”); see also
FCC File No. 0005383190, https://bit.ly/3xheZfS (click on “Reference Copy”) (noting
consummation of transfer on September 7, 2012).
                                              15
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                                    Amended    Original
            Allegation                                              Public FCC Filing(s)
                                    Complaint Complaint
3. U.S. Cellular entered into an                              •   Long-Form Application
   agreement with the DiNardo-                                    (FCC Form 680) of U.S.
   affiliated King Street, under                                  Cellular at Ex. 2, FCC
   which U.S. Cellular managed                                    Auction 901 (June 5, 2013)
   the provision of cellular                                      (disclosing and
   service using King Street’s                                    summarizing provisions of
   spectrum, beginning in or                                      Network Sharing Agreement
   around 2011.                                                   between King Street and
                                                                  U.S. Cellular). 19
                                                              •   King Street Wireless, L.P.
                                                                  Notice of Ex Parte
                                                                  Communication re:
                                                                  Application of AT&T Inc.
                                                                  and Qualcomm Inc. for
                                                                  Consent to Assign Licenses
                                                                  and Authorizations (“King
                                        ¶ 70          ¶ 52
                                                                  Street, in conjunction with
                                                                  USCC, plans to provide
                                                                  LTE services in select
                                                                  markets, likely commencing
                                                                  in the first quarter of
                                                                  2012.”) 20
                                                              •   U.S. Cellular Ex Parte
                                                                  Presentation re: Lower 700
                                                                  MHz Service Rules (“King
                                                                  Street Wireless, L.P. . . . is
                                                                  partnering with U.S.
                                                                  Cellular to deliver high
                                                                  speed 4G LTE service to
                                                                  U.S. Cellular’s customers in
                                                                  several of the carrier’s
                                                                  markets.”). 21
4. DiNardo and U.S. Cellular                                  •   Short Form Application
   both invested in Advantage         ¶¶ 13-18        ¶ 16        (FCC Form 175) of
   Spectrum.                                                      Advantage Spectrum, LP,


19
   Available at https://bit.ly/3x9kHzd (select “Auction 901,” search for file number 0005476908,
click on hyperlink under “File Number,” click on “Winning Bids” tab, select “Show” in
“Attachments” column, click on “Amended Exhibit 2 – REDACTED.”).
20
   See Notice of Ex Parte Meeting Held November 29, 2011, FCC WT Docket 11-18 (Nov. 30,
2011), https://bit.ly/3mHuGXD.
21
   See The Importance of Lower 700 MHz Interoperability to the Development of the LTE
Ecosystem, FCC WT Docket 12-268 (Dec. 3, 2012), https://bit.ly/3aLlTB7.
                                                 16
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                                    Amended    Original
            Allegation                                                 Public FCC Filing(s)
                                    Complaint Complaint
                                                                     FCC Auction No. 97 (Sept.
                                                                     9, 2014). 22
5. King Street/DiNardo provided                                  •   Frequency Advantage, LP
   support to Advantage’s bidding                                    Partnership Agreement
   process.                                                          (disclosing as part of
                                                                     Advantage Spectrum’s Long
                                                                     Form Application that
                                     ¶¶ 89-92        ¶¶ 60, 62       DiNardo would provide
                                                                     “bidding services” to
                                                                     “establish a bidding room
                                                                     and assist in the conduct
                                                                     [of] the Auction Partnership
                                                                     during the Auction”). 23
6. The licenses Advantage bid on                                 •   Exhibit A to Advantage
   and won in Auction 97                                             Spectrum Bidding Protocol
   overlapped with or bordered                                       (disclosing agreement
   U.S. Cellular’s existing                                          between U.S. Cellular,
   coverage areas.                                                   Frequency Advantage, and
                                                                     Advantage Spectrum to
                                                                     devote greatest amount of
                                                                     bidding resources to
                                       ¶ 94             ¶ 43         licenses that overlapped
                                                                     with U.S. Cellular’s
                                                                     holdings). 24
                                                                 •   Each spectrum license is
                                                                     associated with a particular
                                                                     geographic area, the
                                                                     boundaries of which are
                                                                     maintained in the FCC’s
                                                                     publicly-available records. 25


22
   Available at https://bit.ly/3x9kHzd (select “Auction 97,” search for file number 0006457325,
click on hyperlink under “File Number,” click on “Reference Copy,” click on “Attachment –
Exhibit 2 – Indirect Ownership”).
23
   See Frequency Advantage, LP Partnership Agreement at 2nd Whereas Clause & § 8.1 (Volpe
Decl. Ex. C), available at FCC File No. 0006668843, https://bit.ly/3x4mVQd (Mar. 20, 2015)
(Click on “Reference Copy,” scroll to attachments listed on page 39, click on “LP Agreement –
Frequency Advantage”).
24
   See Advantage Spectrum Bidding Protocol at § 1 and Ex. A (Volpe Decl. Ex. E), available at
FCC File No. 0006668843, https://bit.ly/3x4mVQd (Mar. 20, 2015) (Click on “Reference Copy,”
scroll to attachments listed on page 39, click on “Bidding Protocol”).
25
   See, e.g., https://bit.ly/3aGj18O (FCC Advanced License Search); FCC File No. 000668853,
https://bit.ly/3mgdRTA (listing Advantage Spectrum licenses by callsign and market area; to
                                                17
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                                    Amended    Original
            Allegation                                             Public FCC Filing(s)
                                    Complaint Complaint
7. Advantage Spectrum satisfied                               •   Application or Notification
   its interim construction                                       for Spectrum Leasing
   requirements by relying on                                     Arrangement (FCC Form
   U.S. Cellular to provide 4G                                    608) (July 9, 2020) (FCC
   LTE service under the terms of                                 File No. 0009142976). 27
   spectrum manager lease                                     •   Application or Notification
   agreements.                                                    for Spectrum Leasing
                                                                  Arrangement (FCC Form
                                                                  608) (July 9, 2020) (FCC
                                       ¶ 115,                     File No. 0009142955). 28
                                                     N/A 26   •   Application or Notification
                                    ¶¶ 124-128                    for Spectrum Leasing
                                                                  Arrangement (FCC Form
                                                                  608) (July 9, 2020) (FCC
                                                                  File No. 0009146825). 29
                                                              •   Construction notices
                                                                  disclosing Advantage
                                                                  Spectrum’s intent to “rely
                                                                  on the [U.S. Cellular]
                                                                  coverage in its licensed area
                                                                  to meet the interim-term
                                                                  build obligation.” 30
8. With respect to 76 licenses,                               •   Application or Notification
   U.S. Cellular and Advantage                                    for Spectrum Leasing
   Spectrum signed spectrum         ¶¶ 126,                       Arrangement (FCC Form
   manager lease agreements that                     N/A 31       608) (July 9, 2020) (FCC
   covered a 5 MHz downlink-        129-131                       File No. 0009146825)
   only band, without the                                         (disclosing agreements to
   corresponding 5 MHz of                                         lease spectrum in the 2155-
   uplink spectrum included in                                    2180 MHz band). 32


determine geographic boundaries of a license, click first on callsign hyperlink and then on the
“map” tab).
26
   The lease agreements in question post-date the filing of Relators’ original Complaint.
27
   Available at https://bit.ly/3alJEQa (click on “Reference Copy”).
28
   Available at https://bit.ly/3PTo6KW (click on “Reference Copy”).
29
   Available at https://bit.ly/3Q0M2Mv.
30
   See, e.g., Application for Radio Service Authorization (FCC Form 601) – Call Sign WQXW444,
FCC File No. 0009978232 (Mar. 30, 2022), https://bit.ly/38R8gjs (click on “Reference Copy,”
scroll to attachments listed on page 9, click on “Build out Demonstration”).
31
   The lease agreements in question post-date the filing of Relators’ original Complaint.
32
   Available at https://bit.ly/3Q0M2Mv (click on “Admin” tab, click on “All Attachments,” click
on “List and Description of Licenses”).
                                                18
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                                      Amended    Original
             Allegation                                                Public FCC Filing(s)
                                      Complaint Complaint
   each license under the FCC’s                                 AWS-3 Order, 29 FCC Rcd.
                                                                 •
   spectrum allocation plan.                                    at 4612 (ordering that the
                                                                2155-2180 MHz band be
                                                                used for downlink only, and
                                                                auctioned on a paired basis
                                                                with uplink-only spectrum
                                                                in the 1755-1780 MHz
                                                                band).
       These are the essential bases on which Relators ask the Court to infer that Advantage

Spectrum was an illegal front for U.S. Cellular—that it was backed by a limited partner (DiNardo)

with whom U.S. Cellular had a long history; that DiNardo provided important support to its

bidding decisions; that it decided to bid on licenses geographically proximate to U.S. Cellular’s

coverage areas; and that U.S. Cellular—consistent with FCC rules—leased those licenses several

years later. Notwithstanding Relators’ strategic choice not to cite the public records showing each

of these points, each is revealed in FCC filings that trigger the FCA’s public disclosure bar.

               2.      Public Disclosures in the Prior Qui Tam Amended Complaint

       Relators’ claims are also barred because they challenge the same purported core “scheme”

that was alleged in the Prior Qui Tam Action. The Prior Qui Tam Action alleged—just like this

one—that U.S. Cellular caused entities it controlled to certify falsely that they were eligible for

bid credits and other DE benefits.

       The only real difference between this case and the Prior Qui Tam Action is that this case

focuses on an FCC auction that occurred after those at issue in the Prior Qui Tam Action. U.S.

Cellular’s central role in the alleged scheme and the core conduct, however, are essentially

identical. Indeed, the Amended Complaint in the present case specifically portrays the conduct it

alleges as part of a continuing pattern that includes the conduct at issue in the Prior Qui Tam

Amended Complaint. See Am. Compl. ¶¶ 19, 68. The present case merely alleges another example


                                                19
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of what Relators have for years maintained (incorrectly) is U.S. Cellular’s fraudulent modus

operandi. 33 Compl. ¶ 87.

       It is irrelevant that the Relators’ allegations cover a different auction that occurred after

those challenged in the Prior Qui Tam Action. The law is clear that claims may be substantially

similar to public disclosures, thus triggering the bar, even where a relator “provid[es] ‘more

specific details’” about a known scheme, Oliver, 826 F.3d at 472, or “had background knowledge

that allowed him to understand the significance of publicly disclosed information,” Staples, 932

F. Supp. 2d at 41. And the D.C. Circuit holds specifically that “a relator’s ability to reveal

[additional] specific instances of fraud where the general practice has already been publicly

disclosed is insufficient to prevent operation of the [public disclosure] bar.” Oliver, 826 F.3d at

472; see also United States ex rel. Maxwell v. Kerr-McGee Oil & Gas Corp., 540 F.3d 1180, 1187

(10th Cir. 2008) (“a subsequent lawsuit can be ‘based upon’ allegations made in a prior lawsuit

even when the two suits cover different periods of time, [if] the ‘essential claim[s]’ [are]

substantially ‘similar’” (second alteration in original)). That is precisely the case here.

       Thus, the Prior Qui Tam Amended Complaint undoubtedly provided the Government with

the “essence of” the allegations brought here and was “sufficient to set the Government ‘on the

trail of the alleged fraud.’” Reed, 923 F.3d at 744. That is all the public disclosure bar requires.




33
   Even if Relators were to argue that Relator O’Connor was essentially the relator in the Prior Qui
Tam Action—an argument that would be strikingly at odds with the fact that in the earlier case
O’Connor affirmatively chose to be the attorney for the relator law firm and not the relator
himself—that would not preclude the Prior Qui Tam Action from qualifying as a dispositive public
disclosure. The statutory definition of “original source” “does not distinguish between those who
first bring a claim to light and others who later make the same discovery independently,” Minn.
Ass’n of Nurse Anesthetists v. Allina Health Sys. Corp., 276 F.3d 1032, 1048 & n.11 (8th Cir. 2002),
and there is “no basis . . . for such an exception” to the public disclosure bar even for prior qui tam
actions by the same relator, In re Nat. Gas Royalties, 562 F.3d 1032, 1039 n.3 (10th Cir. 2009).
                                                  20
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       B.      Relators Are Still Not An Original Source

       Because their claims are substantially similar to prior public disclosures, Relators must

qualify as an “original source” under the FCA in order to maintain this action. 31 U.S.C.

§ 3730(e)(4)(B). To do so, they must show both that they have some “independent knowledge” in

addition to what has been publicly disclosed, and that such knowledge “materially adds” to the

public record. Id. Satisfying the “independent knowledge” prong requires Relators to allege

“specific facts—as opposed to mere conclusions—showing exactly how and when [they] . . .

obtained direct and independent knowledge of the [nonpublic] fraudulent acts” that they allege.

Staples, 932 F. Supp. 2d at 41-42. Courts have reached different conclusions on what is required

to allege a “material addition.” See MTD Opinion at 11-12 (summarizing circuit split). This Court

need not choose among them because Relators’ additions to the public record are neither a

“significant[] expan[sion]” of the essential factual basis for their claims, nor “information that

might have otherwise influenced the Government.” Id. at 12.

       The Amended Complaint identifies three categories of supposedly non-public and

independent allegations. None of them satisfies both requirements for applying the original source

exception.

       First, even though the Court has already rejected it as a basis for original source treatment,

id. at 12, Relators continue to rely on their investigation into Vail’s alleged lack of an active

permanent business address, Am. Compl. ¶¶ 87-88, 120-121, and the fact that one of Advantage

Spectrum’s designated bidders for Auction 97 (Stephen Hinz) was a King Street employee, see id.

¶ 91. The Amended Complaint adds nothing of substance to the allegations this Court already

addressed. It provides a few more immaterial details about how Vail allegedly ran Advantage

Spectrum (it did not have a dedicated phone number, and its address apparently moved to other

locations Relators believe were unoccupied or unsuitable), compare Compl. ¶ 64, with Am.
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Compl. ¶ 120-121, and simply rephrases identical allegations about Hinz, compare Compl. ¶ 62,

with Am. Compl. ¶ 91. This is still not enough to make Relators an original source.

       Second, Relators assert, see Am. Compl. ¶ 131, that they are an original source because

they have “independently verified” that in order to provide the 4G LTE service disclosed in certain

of Advantage Spectrum’s construction notices, see supra at 18 & n.30, U.S. Cellular must be using

a greater proportion of Advantage Spectrum’s spectrum capacity than the 5 MHz downlink band

disclosed in lease notifications filed with the FCC, see supra at 18-19 & n.32. Even if this were a

factually plausible inference (and it is not, see infra at 31-33), it would still fail to satisfy the

original source exception because inferences from public information are not materially additive

as a matter of law.

       Relators pointedly fail to allege that they actually observed U.S. Cellular using spectrum

not subject to a publicly-filed lease. Compare Am. Compl. ¶ 131 (asserting without explanation

that Relators “independently verified” their allegations), with id. ¶ 72 (alleging that Relators

discovered facts about U.S. Cellular’s spectrum usage by conducting “engineering field tests”).

Rather, they appear to have reviewed the public disclosures discussed supra at 18-19—notices

alerting the FCC to leases covering spectrum between 2155 and 2180 MHz, FCC orders reserving

the 2155-2180 MHz band for downlink use, and reports that U.S. Cellular was using that downlink

spectrum to provide 4G LTE service—and concluded based on their understanding of the

underlying technology (which requires two-way communication to function) that U.S. Cellular

must be using Advantage Spectrum’s uplink spectrum as well. 34



34
   In any event, as discussed infra at 31-33, relators—who are attorneys and not engineers—base
their theory on only a portion of the relevant technical principles, and wholly ignore FCC filings
in which Advantage Spectrum made clear that U.S. Cellular would be using the downlink spectrum
in question to enhance service it already provided, using uplink spectrum it already had the right
to use. See Description of Transaction and Public Interest Statement at 2, Application or
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          That does not materially add to the public record. A relator is not an original source “simply

because he . . . had background knowledge that allowed him to understand the significance of

publicly disclosed information,” see Staples, 932 F. Supp. 2d at 41, and that is all Relators did

here. Put in terms of the D.C. Circuit’s formula, X—Advantage Spectrum’s statement that it had

only leased U.S. Cellular downlink spectrum— and Y—Advantage Spectrum’s statement that U.S.

Cellular would use that leased spectrum to provide two-way cellular service—had been publicly

disclosed, and Relators added nothing at all on their way to Z—the (incorrect) conclusion that

Advantage Spectrum must have lied about the amount of its spectrum that U.S. Cellular had a right

to use.

          Third, Relators repeatedly allege, without explanation or elaboration, the existence of

various “secret agreement[s] and understanding[s]” that supposedly contradicted Advantage

Spectrum’s representations to the Government. See, e.g., Am. Compl. ¶ 83 (secret agreement that

Advantage would be acquired by U.S. Cellular after unjust enrichment period), ¶ 102 (Bidding

Protocol submitted to FCC allegedly “was a false document . . . created to conceal the undisclosed

agreements . . . between U.S. Cellular, Vail, and DiNardo that ceded control of the bidding to U.S.

Cellular and DiNardo”), ¶ 103 (alleging the existence of “numerous undisclosed agreements,

arrangements, and understandings” bearing on Advantage Spectrum’s DE eligibility), ¶ 110

(alleging “numerous agreements that were never disclosed”).

          Even if the Court accepts them as plausibly pled (which they are not, see infra Part II.A.1),

that muddle of vague accusations cannot make Relators an original source because they have

alleged no facts showing—or even suggesting—“exactly how and when [they] . . . obtained direct



Notification for Spectrum Leasing Arrangement (FCC Form 608) (July 9, 2020) (FCC File No.
0009146825) (emphasis added), available at https://bit.ly/3Q0M2Mv (click on “Admin” tab, click
on “All Attachments,” click on “Description of Transaction and Public Interest Statement”).
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and independent knowledge” of these supposed secret agreements. Staples, 932 F. Supp. 2d at 41-

42 (emphasis added). Nor could they—Relators are not insiders to the transactions they claim were

fraudulent. They are telecom lawyers who reviewed public FCC filings and drew inferences of

covertly coordinated action that the Government was perfectly capable of drawing—or not

drawing, as actually happened in this case after multiple investigations—on its own. Relators thus

cannot avail themselves of the original source exception to the FCA’s public disclosure bar.

II.    Relators Fail to Plead Essential Elements of a False Claims Act Violation

       Each of the FCA counts 35 in Relators’ Amended Complaint shares three common elements:

they require Relators to plead facts demonstrating that Defendants (1) made a false statement of

objective fact, (2) with scienter, (3) that was material to the Government’s decision to pay. See

United States ex rel. Gardner v. Vanda Pharm., Inc., 2020 WL 2542121, at *6-7 (D.D.C. May 19,

2020) (“[A]n FCA claim requires the trifecta of falsity, materiality, and scienter.”); see also United

States ex rel. Kasowitz Benson Torres LLP v. BASF Corp., 929 F.3d 721, 728 (D.C. Cir. 2019)

(conspiracy liability depends on “establish[ing] an underlying FCA violation”). The Amended

Complaint here should be dismissed because Relators have failed adequately to plead any of these

three elements.

       A.      Relators Have Not Plausibly Alleged That U.S. Cellular Made Any
               Actionable False Statements

       “[T]he FCA does not reach an innocent, good-faith mistake about the meaning of an

applicable rule or regulation. Nor does it reach those claims made based on reasonable but

erroneous interpretations of a defendant’s legal obligations.” United States ex rel. Purcell v. MWI


35
   See Am. Compl. Count One (conspiracy to violate the False Claims Act under § 3729(A)(1)(C)
§ 3729(a)(1)(A)); id. Count Two (knowingly presenting false claims for payment under
§ 3729(a)(1)(A)); id. Count Three (knowingly making false records and statements material to
false claims under § 3729(a)(1)(B)); id. Count Four (knowingly making false statements to retain
money or property owed to the Government under § 3729(a)(1)(G)).
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Corp., 807 F.3d 281, 287–88 (D.C. Cir. 2015) (citation omitted); cf. United States v. Kellogg

Brown & Root Servs., Inc., 800 F. Supp. 2d 143, 155 (D.D.C. 2011) (the FCA reaches both factual

and legal falsity). Here, Relators allege that as a legal matter U.S. Cellular’s revenues were

attributable to Advantage Spectrum, rendering it ineligible for credits, and that Defendants’

representations to the contrary were therefore legally false. But even claims based on so-called

“legally false” certifications ultimately depend on showing that the submissions “implie[d] the

existence of facts . . . that d[id] not exist.” See Winter ex rel. United States v. Gardens Reg’l Hosp.

and Med. Ctr., 953 F.3d 1108, 1119 (9th Cir. 2020) (emphasis added) (citing United States ex rel.

Polukoff v. St. Mark’s Hosp., 895 F.3d 730, 742–43 (10th Cir. 2018); United States v. AseraCare,

Inc., 938 F.3d 1278, 1297 (11th Cir. 2019)). The Amended Complaint makes no such showing.

        Relators assert two primary theories of falsity, both aimed at establishing that U.S. Cellular

and/or King Street’s revenues were legally attributable to Advantage Spectrum as to all or some

of its licenses, rendering Advantage Spectrum ineligible for bid credits (and rendering its

corresponding certifications false). First, Relators assert that Advantage Spectrum’s certifications

of overall eligibility for DE benefits were false because it had actually entered into secret

agreements which, if disclosed, would have required attribution of U.S. Cellular and/or King

Street’s revenues. See infra Part II.A.1. Second, Relators claim that Advantage Spectrum’s

certifications related to its compliance with FCC’s construction requirements were false as to

certain licenses, because they misrepresented U.S. Cellular’s role in providing the service that

Advantage Spectrum relied upon to satisfy those obligations. See infra Part II.A.2. Both

theories fail.




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                1.      Relators Have Not Plausibly Alleged that Advantage Spectrum
                        Concealed from the FCC Agreements Relevant to Its DE Status

        Relators gesture toward several legal theories, under different FCC rules, for why U.S.

Cellular and/or King Street’s revenues should have been attributed to Advantage Spectrum. See,

e.g., Am. Compl. ¶¶ 41-42 (de facto control under 47 C.F.R. § 1.2110(c)(2)(i) (2014)), ¶¶ 43-45

(affiliation under 47 C.F.R. § 1.2110(c)(5)(ii), (v)-(viii) (2014)), ¶ 46 (joint venturers under 47

C.F.R. § 1.2110(c)(5)(x) (2014)). Factually, however, these are different labels for the same

claim—that a purported web of agreements among U.S. Cellular, DiNardo, and Advantage

Spectrum should have rendered those revenues attributable but were never disclosed to the FCC. 36

        To the extent this claim relies on a hazy web of allegedly secret agreements, described in

general and conclusory terms, it fails because it is not pled with the plausibility that Rule 8 requires.

Indeed, the basic inference upon which Relators rely—that because Defendants’ publicly-

observable actions were arguably consistent with the existence of hidden agreements, such

agreements must in fact have been made—is indistinguishable from the allegations that the

Supreme Court rejected as inadequate in Twombly. Here, as in Twombly, Relators are outsiders to

the alleged conspiracy, who “rest their . . . claim on descriptions of . . . conduct and not on any

independent allegation of actual agreement.” See Twombly, 550 U.S. at 564. Here, as in Twombly,



36
   See Am. Compl. ¶¶ 83, 143(g) (affiliation through alleged secret agreement to merge, see 47
C.F.R. § 1.2110(c)(5)(v) (2014)), ¶¶ 86, 91-94, 102, 143(c) (de facto control through alleged secret
agreement that U.S. Cellular and DiNardo would control bidding strategy, see 47 C.F.R.
§ 1.2110(c)(2), (c)(5)(ii) (2014)), ¶¶ 103, 109-110, 133 (de facto control through alleged secret
agreement that U.S. Cellular would manage and control construction and operations under
Advantage Spectrum’s licenses during the unjust enrichment period, see 47 C.F.R. § 1.2110(c)(2),
(c)(5)(ii) (2014)), ¶ 135 (joint venture established through alleged secret agreements to carry on a
business for joint profit, see 47 C.F.R. § 1.2110(c)(5)(x) (2014)), ¶¶ 86, 91-94, 134 (affiliation
based on identity of interest arising from alleged secret agreement that Advantage Spectrum would
carry out a bidding strategy “solely for U.S. Cellular’s benefit,” see 47 C.F.R. § 1.2110(c)(5)(iii)
(2014)), ¶ 70-71, 104, 107-108 (alleged secret agreement for U.S. Cellular to lease King Street’s
spectrum).
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the few allegations that do “speak directly of agreement . . . are merely legal conclusions resting

on the prior allegations.” Id. And here, as in Twombly, where the Defendants’ public conduct does

not in and of itself “suggest conspiracy”—the FCC reviewed and approved it, and has taken no

contrary action during the years-long pendency of this litigation—Relators’ “conclusory

allegation[s] of agreement at some unidentified point do[] not supply facts adequate to [state a

plausible claim].” Id. at 556-57.

       The D.C. Circuit’s recent decision in United States ex rel. Vermont National Telephone

Co. v. Northstar Wireless LLP, 34 F.4th 29 (D.C. Cir. 2022), illustrates the sort of plausible

allegations that are lacking here. Vermont National also arose out of Auction 97. Unlike here, the

FCC has repeatedly found that the two purported DEs involved in Vermont National are not

entitled to bidding credits because they are de facto controlled by their largest investor. See

Northstar Wireless, LLC, 30 FCC Rcd. 8887 (2015) (denying credits); SNR Wireless LicenseCo,

LLC v. Federal Communications Commission, 868 F.3d 1021, 1028 (D.C. Cir. 2017) (remanding

to FCC with instructions to allow DEs to attempt to cure their ineligibility); Northstar Wireless,

LLC, 2020 WL 6955431 (F.C.C. Nov. 23, 2020) (finding that DEs remained ineligible for bidding

credits), petition for review filed sub nom. Northstar Wireless, LLC v. Federal Communications

Commission, No. 20-1508 (D.C. Cir. Dec. 18, 2020).

       In the Vermont National FCA suit, which unsurprisingly followed the FCC’s initial denial

of bidding credits, the relator alleged that the DEs—purportedly independent from each other and

both backed by DISH Network (a large communications provider)—had obtained bid credits by

“fail[ing] to disclose agreements to act on DISH’s behalf and transfer spectrum rights to DISH.”

Id. at 38. After Judge Kollar-Kotelly granted a motion to dismiss on other grounds, the D.C. Circuit

reversed, holding in the process that the relator had plausibly pled its claims.



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       Unlike the Amended Complaint in this case, the pleadings in Vermont National alleged

facts that were more than merely consistent with an undisclosed agreement that the two DEs would

engage in a coordinated strategy to acquire spectrum that DISH would ultimately control:

       •       Although bidding in Auction 97 was anonymous, the two DISH DEs
               bid for the same licenses 744 times;

       •       When the two DISH DEs submitted identical high bids, they
               frequently accepted the FCC’s random selection of the winner,
               without the random loser submitting a larger bid in the next round
               as permitted by auction rules;

       •       The two DISH DEs bid on licenses that left economically irrational
               gaps in each DE’s individual coverage, but would have “afforded
               complete coverage . . . when combined”;

       •       When each of the two DISH DEs defaulted on its obligation to pay
               for a portion of the licenses it won, those defaults created more gaps
               in each individual DE’s coverage—but preserved the continuity of
               their combined holdings; and

       •       DISH covered the civil penalties each DE incurred as a result of its
               economically irrational defaults.

Id. The D.C. Circuit held that these allegations—which in combination “ma[de] little sense unless

[the DEs] agreed in advance that DISH would ultimately control the[ir] licenses”—stated a

plausible claim that the defendants had concealed their true arrangements from the FCC. Id. at 39

(emphasis added).

       The Amended Complaint in the present case does no such thing. There is only one

allegation in this case remotely similar to the facts the D.C. Circuit found dispositive in Vermont

National—that Advantage Spectrum only won licenses that overlapped existing U.S. Cellular

holdings. See Am. Compl. ¶ 94. But Advantage Spectrum’s intent to target such licenses as the

core of its bidding strategy was publicly disclosed to the FCC as part of its license application, see

supra at 17 & n.24, and the fact that it acted accordingly during Auction 97 can hardly support an



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inference that it was really following a different, secret, plan. 37 Nor was that a strategy that would

have “ma[de] little sense” without a hidden side deal providing for U.S. Cellular’s ultimate control

of the licenses. See Vermont National, 34 F.4th at 39. Advantage Spectrum had ample reason to

focus on geographic areas where its partner had experience operating and assets in place. Indeed,

the entire point of the DE program is to encourage partnerships in which incumbents like U.S.

Cellular make their capital assets and expertise available to new entrants like Advantage Spectrum.

See supra at 3. Relators cannot claim that Advantage Spectrum falsely withheld relevant

agreements from the FCC without alleging any plausible basis to infer that such agreements

existed.

       Relators likewise fail to state a claim based on the fact that U.S. Cellular’s Network Sharing

Agreement with King Street, see supra at 16 & nn.19-21, was not listed in Advantage Spectrum’s

FCC filings. Specifically, Relators argue that this purported omission rendered false Advantage

Spectrum’s certification in long-form application that, as required by FCC Form 601, it had

disclosed “all agreements and understandings . . . relevant to [Advantage Spectrum’s] eligibility

as a very small business under the applicable Designated Entity [regulations].” Am. Compl.

¶¶ 107-108 & Ex. 9. That is incorrect. Relators have not explained what conceivable relevance an

agreement between U.S. Cellular and King Street, regarding the utilization of King Street’s

licenses, could have to whether Advantage Spectrum was controlled by or otherwise affiliated with

U.S. Cellular within the meaning of the FCC’s regulations. And they could not—Form 601




37
   Because the Vermont National defendants withdrew their public-disclosure arguments in the
district court, see Reply in Support of Dismissal, ECF 80 at 2 n.2, United States ex rel. Vt. Nat’l
Tel. Co. v. Northstar Wireless, LLC, No. 1:15-cv-00728-CKK (D.D.C. June 3, 2019), neither Judge
Kollar-Kotelly nor the D.C. Circuit considered whether a “secret agreement” claim could survive
the public disclosure bar when alleged by outsiders who allege the existence of such an agreement
based on inferences from information in the public domain.
                                                  29
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expressly required disclosure only of agreements to which Advantage Spectrum was a party. See

FCC Form 601 Schedule B – Instructions at 2 (rev. Dec. 5, 2014), archived at

https://bit.ly/3mjJKKG (click “View Information Collection (IC) List,” click “Schedule for

Geographically Licensed Services”). Advantage Spectrum made no certification, in other words,

that could have been rendered false merely by omitting to disclose the U.S. Cellular/King Street

Network Sharing Agreement.

               2.     Relators Have Not Plausibly Alleged that Advantage Spectrum
                      Misrepresented U.S. Cellular’s Role in Its Network Buildout

       Relators’ new backup theory of falsity is that even if Advantage Spectrum’s initial

certifications regarding its DE status were truthful (they were), the Defendants are nevertheless

liable based on three allegedly false certifications made following the end of Auction 97. Each of

these post-auction certifications related to U.S. Cellular’s role in Advantage Spectrum’s

construction activities pursuant to the terms of spectrum manager lease agreements publicly

disclosed to the FCC. However, none of them is plausibly alleged to have been false.

       First, Relators allege that Advantage Spectrum falsely represented during its unjust

enrichment period that it was engaged in construction planning, when in fact that construction

would be carried out by U.S. Cellular. See Am. Compl. ¶ 115. But there is nothing objectively

inconsistent about those statements—the fact that construction was ultimately performed by U.S.

Cellular does not conflict with the statement that Advantage Spectrum was involved in planning

the buildout process. Indeed, that is exactly the role described in the Advantage Spectrum

Partnership Agreement filed with the FCC before Auction 97, which assigned Frequency

Advantage (Advantage Spectrum’s general partner) the task of “develop[ing] a build-out plan




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consistent with the FCC’s license retention and renewal provisions.” See Advantage Spectrum, LP

Partnership Agreement § 5.6 (Volpe Decl. Ex. D). 38

       Second, Relators claim that Advantage Spectrum avoided unjust enrichment payments on

76 of its licenses by falsely certifying that U.S. Cellular was using less than 25% of each one’s

spectrum capacity. Am. Compl. ¶¶ 126, 129, 131. As explained supra, at 5-6 & 22, Relators’

theory is that Advantage Spectrum must have been lying about how much spectrum U.S. Cellular

actually used, because it represented both that U.S. Cellular was leasing spectrum licensed for

downlink only, and that such spectrum was being used in order to provide two-way LTE service as

required by FCC’s buildout rules. There are two reasons, however, that Relators cannot “nudge

th[is] claim[] across the line from conceivable to plausible.” Twombly, 550 U.S. at 570.

       At the threshold, the public record shows that Advantage Spectrum’s portion of the 2155-

2180 MHz downlink band was not the only spectrum that U.S. Cellular was using to deliver service

in the relevant markets. Rather, the lease notification filed by Advantage Spectrum made clear that

U.S. Cellular would be using the leased downlink spectrum, on a supplemental basis, to “enhanc[e]

its provision of wireless . . . service” by “utiliz[ing] additional spectrum in its existing license

area.” See Description of Transaction and Public Interest Statement at 2, Application or

Notification for Spectrum Leasing Arrangement (FCC Form 608) (July 9, 2020) (FCC File No.

0009146825) (emphasis added). 39

       To be sure, this meant that U.S. Cellular would be mating Advantage Spectrum’s downlink

band with spectrum outside the set of uplink frequencies (1755-1780 MHz) with which FCC had



38
   Available at FCC File No. 0006668843, https://bit.ly/3x4mVQd (Mar. 20, 2015) (click on
“Reference Copy,” scroll to attachments listed on page 39, click on “LP Agreement – Advantage
Spectrum”).
39
   Available at https://bit.ly/3Q0M2Mv (click on “Admin” tab, click on “All Attachments,” click
on “Description of Transaction and Public Interest Statement”).
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paired it for auction. Relators do not allege facts showing any practical or legal obstacle to doing

so. See Am. Compl. ¶ 131 (concluding without explanation that U.S. Cellular would have had to

“control both the downlink and the uplink spectrum” from Advantage Spectrum’s licenses in

particular).

        Nor do any such obstacles exist. From a technical perspective, the LTE standard

(documentation of which is publicly available on the website of the standard-setting organization

that maintains it, see 3GPP Global Initiative, Specifications, https://bit.ly/3MoXtL0 (last visited

June 10, 2022), permits wireless carriers to mix and match spectrum groupings, and to add

downlink frequencies without also incorporating a symmetrical uplink band, see Jeannette

Wannstrom,     3GPP     Global    Initiative,   Carrier   Aggregation    Explained    (June    2013),

https://bit.ly/395qv4R. 40 And from a regulatory perspective, the FCC has repeatedly clarified that

nothing in its rules prevents telecommunications providers from taking advantage of that technical

flexibility. See, e.g., AWS-3 Order, 29 FCC Rcd. at 4625 (“We note that no regulation would

prohibit licensees from pairing this uplink band with another present or future licensed downlink

band. Indeed, our secondary markets and flexible use policies are designed to facilitate the

configuration of licenses in their most productive economic use.”); Expanding the Economic and

Innovation Opportunities of Spectrum Through Incentive Auctions, 29 FCC Rcd. 6567, 6589-90




40
   The Court may take judicial notice of the contents of widely-used technical standards that are
readily ascertainable from publications issued by the standard-setting organization that maintains
them. See, e.g., Cover v. Windsor Surry Co., 2016 WL 520991, at *1 n.1 (N.D. Cal. Feb. 10, 2016)
(taking judicial notice of “technical standards published by [the] American Society of the
International Association for Testing and Materials”); In re Toyota Motor Corp., 785 F. Supp. 2d
883, 901-02 (C.D. Cal. 2011) (taking judicial notice of standard promulgated by the International
Organization for Standardization); Anchor Sav. Bank, FSB v. United States, 81 Fed. Cl. 1, 97 n.40
(2008) (taking judicial notice of standard promulgated by Federal Accounting Standards Board—
a “transparent, reliable professional organization” that offered “the court . . . no cause to question
the accuracy of the financial accounting standards posted on the organization’s website”).
                                                  32
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(2014) (“[I]n practice, wireless providers may choose to aggregate 600 MHz downlink-only blocks

with [existing holdings in] a high-spectrum band”).

        In sum, the public record says that U.S. Cellular is leasing Advantage Spectrum’s downlink

band to “enhance” its LTE services in areas where Relators acknowledge that U.S. Cellular already

has other licensed spectrum, and there is no technical or regulatory reason it would have to

surreptitiously use Advantage Spectrum’s uplink band in order to do so. There is no plausible basis

to conclude that Advantage Spectrum falsely underrepresented the scope of that lease.

        Third, Relators assert that Advantage Spectrum falsely certified that it retained de facto

control of the licenses covered under its spectrum manger leases with U.S. Cellular. See Am.

Compl. ¶¶ 119-122, 127. While FCC regulations expressly permitted Advantage Spectrum to enter

into spectrum manager leases with U.S. Cellular, 47 C.F.R. § 1.9010(d)(4), it could maintain its

status as a valid DE only if it retained de facto control of its licenses under the special FCC rules

governing such arrangements, see id. § 1.9010(a) (defining de facto control as element of a valid

spectrum manager lease), § 1.2110(b)(4) (providing that a DE “must retain . . . de facto control

over the spectrum associated with the license(s) for which it seeks small business benefits”).

Relators allege that Advantage Spectrum’s certifications of continuing eligibility for benefits were

false because it surrendered de facto control of its licenses to U.S. Cellular. That claim fails

because it is implausible, and because Relators have failed to plead it with particularity under Rule

9(b).

        The FCC has promulgated specific regulations defining de facto control of a license for

spectrum leasing purposes. See id. § 1.9010. 41 As relevant here, a licensee that enters into a



41
  These rules address whether a licensee has retained de facto control over (and can thus retain
bidding credits associated with) a particular license subject to a spectrum lease. They do not
address the separate issue of identifying who exercises de facto control over the DE as a whole for
                                                 33
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spectrum lease will be deemed to have kept de facto control of the underlying licenses so long as

it “act[s] in a manner sufficient to ensure” that the lessee complies with applicable FCC rules

through “actual oversight and enforcement of [contractual] provisions,” id. § 1.9010(b)(1)(i), and

“maintain[s] a reasonable degree of actual working knowledge about the spectrum lessee’s

activities and facilities that affect its ongoing compliance with the Commission’s policies and

rules,” id. § 1.9010(b)(1)(ii).

        To begin with, Relators do not plausibly allege that Advantage Spectrum either did not or

could not fulfill those responsibilities. The Amended Complaint’s only factual basis for that claim

elevates form over function—Relators rely on allegations that Advantage Spectrum did not have

a fixed office or phone line, or a permanent staff. See Am. Compl. ¶ 118-122. But Vail, by

Relators’ own allegation, was a prior “general manager of local [and] regional cellular telephone

systems,” id. ¶ 90—there is no plausible basis to infer that he was incapable of maintaining de

facto control per FCC’s rules.

        Moreover, even if that were a plausible inference (it is not), the claim would still fail for

lack of particularity under Rule 9(b). Since Relators allege fraud, it is not enough to claim broadly

that Advantage Spectrum lacked certain attributes that Relators have arbitrarily decided are

“indicia of a wireless company in de facto control” of its licenses. See id. ¶ 119. Rather, Relators

must allege the “who, what, when, where, and how,” of Vail’s actual failure to meet his obligations

under FCC’s rules. See PCA Integrity, 2020 WL 686009, at *21. They have not done so, and this

final theory of falsity fails under both Rule 8 and Rule 9(b).




purposes of its overall eligibility for bidding credits. The latter point is analyzed under the FCC’s
longstanding six-factor test for de facto control, discussed infra at n.42.
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       B.      Relators Have Not Plausibly Alleged That U.S. Cellular Acted With Scienter

       Even if Defendants were legally mistaken, however, as to whether Advantage Spectrum

was a valid DE, there would be no liability under the FCA because Relators have not pled the

scienter the Act requires. Cf. Vermont National, 34 F.4th 29 (not reaching scienter issues). The

FCA punishes only false statements made with knowledge, deliberate ignorance, or reckless

disregard of their falsity, and “does not reach an innocent, good-faith mistake about the meaning

of an applicable rule.” Purcell, 807 F.3d at 287; see also 31 U.S.C. § 3729(b). “The FCA is a fraud

prevention statute,” not a “vehicle for policing technical compliance with administrative

regulations,” United States ex rel. Lamers v. City of Green Bay, 168 F.3d 1013, 1020 (7th Cir.

1999), and there is no liability under the statute for “claims made based on reasonable but

erroneous interpretations of a defendant’s legal obligations,” Purcell, 807 F.3d at 288. The

Supreme Court has reiterated the need for “strict enforcement” of the FCA’s scienter requirement.

Universal Health Servs., Inc. v. United States ex rel. Escobar, 579 U.S. 176, 192 (2016). Relators’

claims fall far short of adequately alleging scienter, for three reasons.

       First, the Amended Complaint essentially fails to allege scienter at all. The Amended

Complaint alleges without explanation or differentiation that “the Defendants” had knowledge that

Advantage Spectrum was not a valid DE. See Am. Compl. ¶¶ 104, 146, 148, 152, 156. It contains

no well-pleaded facts as to how, why, or when any defendant knew this. Nor could it—as discussed

supra, Relators are outsiders to the alleged fraud whose lawsuit is based on public documents, not

first-hand knowledge of Defendants’ decisions. This sparse legal conclusion does not pass muster

under Rule 8. See Perry Capital LLC v. Mnuchin, 864 F.3d 591, 610 n.9 (D.C. Cir. 2017) (“Nor

does a complaint suffice if it tenders naked assertions devoid of further factual enhancement”)

(quoting Iqbal, 556 U.S. at 678).



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       Second, Relators cannot plausibly allege scienter because they have not pled an objectively

unreasonable application of FCC regulations to the Amended Complaint’s handful of well-pled

facts. There is no objective basis to conclude, for example, that it was anything but reasonable for

Advantage Spectrum to omit from its FCC filings an agreement to which it was not a party. See

Am. Compl. ¶¶ 107-108 & Ex. 9 (discussed supra at 29-30). Nor would it have been objectively

unreasonable for Advantage Spectrum to represent that it was “in the planning stages of

construction” during its unjust enrichment period—even if it expected at the time that U.S. Cellular

would ultimately conduct the required buildout as a spectrum lessee. See Am. Compl. ¶ 115

(discussed supra at 6). FCC rules permit a licensee to “attribute to itself the build-out or

performance activities of its spectrum lessee(s) for purposes of complying with any applicable

performance or build-out requirement,” 47 C.F.R. § 1.9020(d)(5)(i) (emphasis added). Since the

applicable regulations deem construction pursuant to a spectrum lease to be construction by the

licensee, it would have been reasonable for Advantage Spectrum to certify that it was “planning”

for construction by contemplating entry into an appropriate leasing arrangement. The fact that

these interpretations of the FCC’s rules were at least objectively reasonable conclusively

negates scienter.

       The Amended Complaint likewise does not support an inference of scienter as to U.S.

Cellular’s alleged “control” over Advantage Spectrum as a whole. The FCC evaluates “control”

over a DE’s overall business according to a complex six-factor balancing test. 42 In light of the



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  See, e.g., Stratos Global Corp., 22 FCC Rcd. 21328, 21343 (2007) (“(1) does the licensee have
unfettered use of all the facilities and equipment? (2) who controls daily operations? (3) who
determines and carries out the policy decisions, including preparing and filing applications with
the Commission? (4) who is in charge of employment, supervision, and dismissal of personnel
(5) who is in charge of the payment of financing obligations, including expenses arising out of
operations and (6) who receives monies and profits derived from the operation of the facilities?”).
These factors are used to evaluate whether a DE’s overall business is de facto controlled by a
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FCC’s repeated prior approval of similar arrangements, and the disclosure of all the agreements

between Advantage and U.S. Cellular, Relators have failed to show that U.S. Cellular’s belief that

there was no improper control under that open-ended standard was so “indisputably [in]correct as

to render [its] certifications ‘knowingly false as a matter of law.’” United States ex rel. Smith v. The

Boeing Co., 825 F.3d 1138, 1151 (10th Cir. 2016) (emphasis added); see also Purcell, 807 F.3d at

287-88 (“[T]he FCA does not reach an innocent, good-faith mistake about the meaning of an

applicable rule or regulation. Nor does it reach those claims made based on reasonable but

erroneous interpretations of a defendant’s legal obligations.”); United States ex rel. K&R Ltd.

P’ship v. Mass. Hous. Fin. Agency, 530 F.3d 980, 982-84 (D.C. Cir. 2008) (finding no inference of

scienter based on defendant’s reasonable interpretation of ambiguous mortgage note, even if

defendant’s was not ultimately “the better reading”).

       Advantage Spectrum’s conclusion that it was not “controlled” by either U.S. Cellular or

DiNardo, per FCC regulations, was not unreasonable as a matter of law. So even if that certification

were later determined to be legally wrong, there is no basis to infer that it was knowingly wrong

when made. The Amended Complaint’s conclusory allegations that Advantage Spectrum was

party to numerous secret agreements make no difference. See supra (discussing implausible

allegations lacking particularity). The well-pled facts do not show any objective measure of

improper control under the FCC’s open-ended test.




person or entity that is ineligible for bidding credits. With respect to whether a DE that enters into
spectrum lease agreements has retained de facto control of the specific underlying licenses at issue,
the FCC has replaced these factors with a specific test codified at 47 C.F.R. § 1.9010. See supra
at 33-34 & n.41.
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       C.      Relators Have Not Plausibly Alleged That Any False Statement Was Material
               to the FCC’s Approval Decision

       “[A] misrepresentation about compliance with a statutory, regulatory, or contractual

requirement must be material to the Government's payment decision in order to be actionable under

the False Claims Act.” Escobar, 579 U.S. at 192. The FCA’s “materiality standard is demanding,”

because the statute is not “a vehicle for punishing garden-variety . . . regulatory violations.” Id. at

194. And as with scienter, the Supreme Court has emphasized that the materiality requirement

should be “rigorous[ly]” enforced. Id. at 192.

       A false certification is not material if it would not affect the Government’s payment

decision—this means not only that the Government could deny payment based on the false

certification, but in fact would deny payment if it knew the certification were false. Id. at 195

(rejecting Government’s suggestion that materiality depends on whether “the government could

lawfully withhold payment”) (emphasis added). In assessing materiality, the Supreme Court

directs courts to take into account the Government’s actual behavior. If the “Government pays a

particular claim in full despite its actual knowledge that certain requirements were violated, that is

very strong evidence that those requirements are not material.” Id. Likewise if the Government

regularly “pay[s] claims in the mine run of cases” despite that type of noncompliance, it is

presumptively not material. Id. Relators’ allegations of materiality fail for two reasons:

       First, the Amended Complaint alleges materiality only in conclusory terms. See, e.g., Am.

Compl. ¶¶ 153 (alleging that “records and statements” “were material to the Defendants’ claims

for benefits as a DE”). Simply restating the elements of an FCA claim is facially insufficient under

either Rule 8(a) or Rule 9(b). Iqbal, 556 U.S. at 687. Likewise, the Amended Complaint stops

short of alleging facts to show that the FCC actually would have denied or reclaimed the bidding

credits or denied the licenses based upon Defendants’ purportedly false certifications. Bare recitals


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that Advantage Spectrum “would have [been] disqualified” from receiving bidding credits under

FCC’s regulations, see Am. Compl. ¶ 81, or that the Commission awarded bid credits “[i]n reliance

on” its certifications are insufficient, see id. ¶ 144. “A misrepresentation cannot be deemed

material merely because the Government designates compliance with a particular . . . requirement

as a condition of payment. Nor is it sufficient for a finding of materiality that the Government

would have the option to decline to pay if it knew of the defendant’s noncompliance.” Escobar,

579 U.S. at 194.

       Second, facts alleged in the Amended Complaint—along with others of which this Court

can take notice—demonstrate that if any of the statements or certifications in issue were false, that

falsity was not material to FCC’s decision to grant Advantage Spectrum’s bid credits and, later, its

spectrum licenses as a matter of law.

       Here, as the Amended Complaint and public record demonstrate, the FCC unquestionably

knew of all of the facts alleged in the Amended Complaint and the alleged scheme, and it still

decided to grant Advantage’s bid credits and spectrum licenses. See supra Part I.A.1. The fact that

the Government still granted the auction benefits with actual and complete knowledge of the

alleged misstatements is the clearest evidence that the Government either disagreed that the

statement in issue was false or, if it was false, that it was immaterial to the Government’s decision

to grant the auction benefits. See Escobar. 579 U.S. at 195 (“[I]f the Government pays a particular

claim in full despite its actual knowledge that certain requirements were [allegedly] violated, that

is very strong evidence that those requirements are not material.”). This inference is particularly

strong in the case of Auction 97, where FCC actually scrutinized purported DEs and concluded

that two other bidders were de facto controlled by a large business and therefore not entitled to DE

status. See SNR Wireless LicenseCo, LLC v. FCC, 868 F.3d 1021, 1028 (D.C. Cir. 2017).



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       The FCC’s payment decisions on other auctions confirms this point. Advantage Spectrum

was not the first FCC-approved designated entity in which U.S. Cellular had invested—Relators

allege it was the fourth in a purported ongoing scheme with DiNardo. Am. Compl. ¶ 68. But the

FCC, with full information, approved those arrangements too. The fact that the FCC approved

licenses to similarly-structured DEs four times over more than a decade strongly suggests that its

practice “in the mine run of cases” was to not deny licenses in the face of the type of allegations

in Relators’ Amended Complaint. Either the FCC did not view any statements or certifications as

false, or it viewed any misstatements as immaterial. Regardless, the FCC’s decisions to grant

licenses, when armed with the facts raised in the Amended Complaint, precludes any finding of an

FCA violation here. See Escobar, 579 U.S. at 195.

       Vermont National—in which the D.C. Circuit recently reversed the grant of a motion to

dismiss Auction 97-related FCA claims on materiality grounds—does not require a different result.

The finding of materiality in that case turned on the relator’s plausible allegations of outright

hidden agreements between the DISH DEs and their patron, see supra at 28, a violation of FCC

rules that would (if true) have unambiguously violated the DE program’s basic design. There was

no doubt, in other words, that the Vermont National relator had plausibly alleged a

misrepresentation that was at least plausibly material. That is not the case here. As discussed supra,

at 28-29, the conclusory allegations of secret agreements presented in this case are anything but

plausible. And after disregarding those unsupported allegations (as this Court is required to do on

a motion to dismiss, see Standard of Review, supra), what is left is not a claim that Advantage

Spectrum concealed or misstated any facts—only a dispute over whether it reached the right legal

conclusions as to the propriety of a business model of which the FCC was well aware.




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        Relators’ only remaining complaint, in other words, is that Advantage reached the wrong

legal conclusion based upon facts that have been repeatedly disclosed to the FCC, in multiple

auctions, with respect to multiple DEs. Whatever the ultimate merits of that legal dispute (and

Defendants have the better of it for the reasons explained in Part II.A, supra), they were manifestly

immaterial to the FCC’s payment decisions and therefore cannot support a valid claim under

the FCA.

III.    The Amended Complaint Should Be Dismissed with Prejudice

        Dismissal with prejudice is appropriate because Relators have already had two chances to

state their claims, see ECF 176, and any further opportunity would be futile. See Corp. Sys. Res.

v. Wash. Metro. Area Transit Auth., 31 F. Supp. 3d 124, 135 (D.D.C. 2014). Amendment is futile

if the complaint would be subject to dismissal even as amended, In re Interbank Funding Corp.

Sec. Litig., 629 F.3d 213, 215 (D.C. Cir. 2010), and that is plainly the case here.

        As to the public disclosure bar, the Court gave Relators a second chance to plead, with

clear instructions as to what they needed to add if it were possible. They failed to cure the basic

defect that led to the first dismissal, and their revised legal theories are no help to their case. There

is no basis to believe further amendments would be a productive exercise or would have any chance

of stating a valid claim.

        The same is true of the other bases for dismissing the Amended Complaint. The public

nature of the Prior Amended Qui Tam Complaint, the full disclosure to the FCC of the facts at the

center of Relators’ case, and FCC’s continuing approval are not subject to alteration in a new

pleading. The Complaint challenges an arrangement that was publicly disclosed years before this

case, and which the FCC approved years after. Amendment would be futile, DOJ has already

declined to intervene, and the Court should close the book on Relators’ last-gasp efforts to keep

this meritless suit alive.
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                                      CONCLUSION

       For the foregoing reasons, the Amended Complaint should be dismissed with prejudice.



Dated: June 13, 2022                      Respectfully submitted,

                                                  /s/ Frank R. Volpe

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